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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF NEW YORK



LINDA M. LESLIE, Regional Director of the
Third Region of the National Labor Relations
Board, for and on behalf of the
NATIONAL LABOR RELATIONS BOARD,
                                                    Case No. 1:22-cv-00478-JLS
                   Petitioner,

        vs.

STARBUCKS CORPORATION,

                   Respondent.


 RESPONDENT STARBUCKS CORPORATION’S NOTICE OF MOTION PURSUANT
  TO FED. R. CIV. P. 45(g) FOR CONTEMPT AND IMPOSITION OF SANCTIONS

         PLEASE TAKE NOTICE THAT, Respondent Starbucks Corporation, by its attorneys,

Littler Mendelson, P.C., pursuant to Rule 45(g) of the Federal Rules of Civil Procedure, and for

the reasons set forth in Respondent’s Memorandum of Law, will move this Court, at the United

States Courthouse located at 2 Niagara Square, Buffalo, New York, on a date and time to be set

by the Court, for an order: (1) finding non-parties Workers United, Workers United

representatives, and current and former employees of Respondent, on each of whom Respondent

served subpoenas duces tecum pursuant to the order issued by the Court on September 7, 2022

(the “Subpoenaed Nonparties”), in contempt of the Court’s September 23, 2022, order setting

October 14, 2022, as the deadline for documents responsive to the subpoenas duces tecum to be

produced and any privilege logs served (Doc. 49); (2) imposing sanctions on the Subpoenaed

Nonparties, including monetary sanctions and attorneys’ fees and costs; (3) holding the case in

abeyance pending the Subpoenaed Nonparties’ compliance with the subpoenas; (4) modifying the




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briefing and hearing dates set forth in the September 23, 2022, Order; and (5) granting such other

and further relief as the Court deems just and proper.

         Respondent intends to file and serve Reply papers.

Dated: October 20, 2022
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